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                  HUNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,               Case No. 2:10-cr-00284-MCE

            Plaintiff,                  ORDER FOR RELEASE OF PERSON
     v.                                 IN CUSTODY

NHUNG VU,

          Defendant.
___________________________/

TO: THE UNITED STATES MARSHAL SERVICE.

     This is to authorize and direct you to release NHUNG VU,

Case No. 2:10-cr-00284-MCE, from custody for the following reasons:

                         Release on Personal Recognizance

                         Bail Posted in the Sum of $

                         Unsecured Appearance Bond

            ___          Appearance Bond with 10% Deposit

                         Appearance Bond with Surety

            ___          Corporate Surety Bail Bond

             X           (Other): Pursuant to the Court’s Judgment and

                         Sentence of Time Served.

Issued at Sacramento, California on May 16, 2013 at 10:19 a.m.

                                        Dated: May 16, 2013


                                        ____________________________
                                        MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
